O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the
                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No: 5:03CR37-4
                          Joreal Arvel Logan
                                                                           )   USM No: 17939-058
Date of Previous Judgment: 6/17/08                                         )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                          )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 90 months   months is reduced to 72 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    33                Amended Offense Level:                                            31
Criminal History Category: IV                Criminal History Category:                                        IV
Previous Guideline Range:  188 to 235 months Amended Guideline Range:                                          151       to 188   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
It is further ordered that as a condition of supervised release the defendant shall submit to the local Residential Reentry
Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer. The defendant
was originally sentenced on 4/18/05 to 188 months confinement, and the sentence was reduced on 6/17/08 to 90 months

Except as provided above, all provisions of the judgment dated                     6/17/08            shall remain in effect.
IT IS SO ORDERED.

Order Date:          November 12, 2008


Effective Date: November 12, 2008
                       (if different from order date)


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